                                      2024 IL App (1st) 231460                                                                                 SIXTH DIVISION

                                                                                    August 23, 2024
                                            No. 1-23-1460
 ______________________________________________________________________________

                                               IN THE
                                APPELLATE COURT OF ILLINOIS
                                          FIRST DISTRICT
 ______________________________________________________________________________
 FRED HAMPTON AND GLENN WILLIAMS,                    )             Appeal from the Circuit Court
 individually and on behalf of all others similarly situated,
                                                     )             of Cook County.
                                                     )
       Plaintiffs-Appellees,                         )
                                                     )
    v.                                               )             No. 19 CH 1089
                                                     )
 CITY OF CHICAGO, a municipal corporation,           )             Honorable
                                                     )             David B. Atkins,
                                Defendant-Appellant. )             Judge, presiding.



        JUSTICE C.A. WALKER delivered the judgment of the court.
        Presiding Justice Oden Johnson and Justice Tailor concurred in the judgment.

                                              OPINION


¶1    The circuit court certified the following question on appeal: “[M]ay a party seek return of

fines paid to a government entity pursuant to void judgments at any time, notwithstanding the

applicability of any relevant statute of limitations or other public policy considerations?” For the

reasons below, we answer a limited version of the above question in the affirmative and hold that

the Illinois Supreme Court’s exception to the rule that void judgments can be challenged at any
No. 1-23-1460


time, as explained in Sundance Homes, Inc. v. County of Du Page, 195 Ill. 2d 257 (2001), applies

to refund claims predicated on void agency determinations.

¶2                                       I. BACKGROUND

¶3    This case arises from a proposed class action against the City of Chicago (City) over

collections the City undertook against vehicle owners pursuant to the automated traffic law

enforcement (ATL) program, colloquially known as the “red-light” camera program. Under the

ATL program, a camera affixed to certain red lights in the city of Chicago would automatically

detect when drivers violated the traffic laws regarding red lights, then issue a ticket for that

violation directly to the owner of the vehicle. Plaintiffs Fred Hampton and Glenn Williams, on

behalf of a proposed class of ticketed owners (Plaintiffs), seek, in relevant part, a refund of the

civil penalties paid to the City pursuant to the program, claiming the City failed to follow the

administrative notice requirements in assessing and collecting civil penalty fees resulting from

alleged violations, rendering the collection judgments void.

¶4    Hampton filed his “Class Action Complaint” on January 25, 2019. In relevant part, Hampton

alleged that the City implemented the ATL program in 2003. The program generated over $235

million in revenue from 2003 to 2010. Hampton further alleged that, in administering the program,

the Municipal Code of Chicago (MCC) required the City to mail owners a notice of a violation,

following which the recipient owner could either pay a fine, submit materials in the mail to

challenge the violation, or request a hearing. If the owner did not respond, the Code then required

the City to issue a second notice to the owner. Following the second notice, if the owner did not

respond within 14 days, the City could then enter a judgment, or “determination of liability,”

against that owner and impose a monetary fine.




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No. 1-23-1460


¶5    Despite the MCC’s requirements, Hampton alleged, the City never issued a second notice

to any owner found liable under the ATL program from 2003 to May 17, 2015. This rendered each

fine levied and collected under the ATL program “null and void” and “subject to collateral attack

in any court at any time.”

¶6    The complaint referenced an earlier litigation (McKenzie-Lopez v. City, No. 15-CH-4802

(Cir. Ct. Cook County)) in which the City settled with a class of ATL program ticket recipients on

the basis of no second notice but limited the class to owners ticketed between March 23, 2010, and

May 17, 2015. Hampton sought to certify a class consisting of the remaining plaintiffs, whose

fines were levied from 2003 to March 22, 2010. The complaint defined the proposed class as

       “All individuals or entities to whom, between 2003 and March 22, 2010, the City of

      Chicago issued a determination of liability on an alleged automated traffic law enforcement

      program violation before any request was made for an adjudication by mail or for an

      administrative hearing, or where no such request was made.”

¶7    Hampton sought one count, Count I for a declaratory judgment, under which the following

relief was requested:

      “A. Declare that the City’s practice of issuing determinations of liability on alleged ATL

      program violations without issuing a second notice violates the MCC, and therefore, are

      void and unenforceable;

      B. Order the City to create a common fund sufficient to provide full restitution, as well as

      pre- and post-judgment interest, to Plaintiff and Class members who paid fines and penalties

      in satisfaction of void judgments and determinations of liability concerning an alleged ATL

      Violation.”




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Hampton further sought a permanent injunction, attorney’s fees, and any other relief the circuit

court found appropriate.

¶8    Hampton later filed a first amended complaint, which added Williams as a named plaintiff.

¶9    The City moved to dismiss, arguing, in relevant part, that Plaintiffs’ claims were time-barred

by the five-year civil catchall statute of limitations (see 735 ILCS 5/13-205 (West 2016)). For

support, the City cited Sundance Homes, where the supreme court applied the statute of limitations

to an untimely transportation impact fee refund claim, even though the claim arose from a facially

unconstitutional statute. Sundance Homes, 195 Ill. 2d at 270. Because Hampton filed suit on

January 28, 2019, the City argued all claims accruing before January 28, 2014, were barred.

¶ 10 In its response, Plaintiffs contended that because they alleged the determinations of liability

were void judgments, they could be attacked at any time, and were not subject to a statute of

limitations. Plaintiffs noted that the circuit court in McKenzie-Lopez v. City, No. 15-CH-4802 (Cir.

Ct. Cook County), refused to certify a question regarding whether the statute of limitations applied

in this context, and this court rejected the City’s petition for leave to appeal on that issue.

¶ 11 In its reply, the City argued that “while Sundance Homes did not expressly address whether

a refund claim based on a ‘void’ agency determination is subject to a statute of limitations,” its

holding stood for this proposition because “the very same reasons supporting application of a

limitations period to claims seeking refunds of monies paid under an unconstitutional statute ***

apply equally to claims seeking refunds paid under a ‘void’ administrative decision.”

¶ 12 The circuit court denied the City’s motion to dismiss as to Hampton but granted it as to

Williams, reasoning, in relevant part, that the claims were not time-barred because “where the

facts, as alleged, show that Defendant’s decisions may be found to be void, Plaintiffs are free to




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No. 1-23-1460


attack the decision at any time.” The court dismissed the complaint without prejudice to permit

Plaintiffs to file a second amended complaint regarding Williams’s claims.

¶ 13 Plaintiffs filed a second amended complaint, which maintained the core claims of the

original complaint as to the purported class. Regarding Hampton, Plaintiffs alleged that the City

issued him at least four determinations of liability, pursuant to the ATL program, between 2005

and March 23, 2010, without issuing second notices. Plaintiffs stated Williams committed an

alleged ATL program violation on April 21, 2008, then received a determination of liability

without first receiving a second notice of violation, after which he paid a fine.

¶ 14 The City again moved to dismiss under the same theory, and clarified its position that while

a declaration that the determinations of liability were void could be sought at any time, a claim for

a refund of the money paid pursuant to those determinations was subject to the statute of

limitations. In response, Plaintiffs argued Sundance Homes did not apply because this was a

challenge to a void agency decision, which is not a “simple refund case.”

¶ 15 The circuit court denied the City’s motion, and explained:

       “Plaintiffs do not allege they simply left moneys with the City by mistake, but that they

       were required to pay the City via void judgments against them. Defendant’s argument, if

       accepted, would render the doctrine that void judgments can be challenged at any time

       meaningless as to any judgment that requires payment of a fine, and the court can find no

       support for such a finding.”

¶ 16 The City moved to certify a question for review on appeal pursuant to Illinois Supreme

Court Rule 308(a) (eff. Oct. 1, 2019). Plaintiffs opposed the motion. The circuit court granted the

motion to certify for interlocutory appeal for the question: “[M]ay a party seek return of fines paid

to a government entity pursuant to void judgments at any time, notwithstanding the applicability



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No. 1-23-1460


of any relevant statute of limitations or other public policy considerations?” The City then

petitioned for leave to file the present appeal, which this court granted.

¶ 17                                        II. JURISDICTION

¶ 18 This court granted the City’s petition for leave to appeal to resolve a certified question,

giving this court jurisdiction pursuant to Illinois Supreme Court Rule 308(a) (eff. Oct. 1, 2019).

¶ 19                                        III. ANALYSIS

¶ 20 Illinois Supreme Court Rule 308(a) (eff. Oct. 1, 2019) applies when “the trial court, in

making an interlocutory order not otherwise appealable, finds that the order involves a question of

law as to which there is a substantial ground for difference of opinion and that an immediate appeal

from the order may materially advance the ultimate termination of the litigation.” Because a

certified question presents a pure issue of law, our review is de novo. Rozsavolgyi v. City of Aurora,

2017 IL 121048, ¶ 21. “Certified questions must not seek an application of the law to the facts of

a specific case.” If addressing the question “will result in an answer that is advisory or provisional,”

the appellate court should not reach the question. Id. The appellate court may limit or rephrase a

certified question, though review is generally confined to the issue presented in the certified

question. Williams v. Athletico, Ltd., 2017 IL App (1st) 161902, ¶ 9; see Hampton v. Metropolitan

Water Reclamation District of Greater Chicago, 2016 IL 119861, ¶ 10.

¶ 21 The question as certified is “[M]ay a party seek return of fines paid to a government entity

pursuant to void judgments at any time, notwithstanding the applicability of any relevant statute

of limitations or other public policy considerations?” As an initial matter, we note that the question

as certified is overbroad because resolving it would implicate other areas of the law such that our

opinion would be rendered advisory (i.e., criminal cases involving fines). Rozsavolgyi, 2017 IL

121048, ¶ 21. Similarly, we decline to address the public policy aspect of the question as certified



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No. 1-23-1460


because proper analysis of the issue would necessarily involve application of law to this specific

factual context, which is improper on a certified question review. Id.
¶ 22 With those issues in mind, we rephrase the certified question as follows: “Does the

Sundance Homes exception to the void judgment rule apply only to refund claims predicated on

void statutes, or does the exception also apply to refund claims predicated on void agency actions?”

¶ 23 We begin, of course, with Sundance Homes. There, the Illinois Supreme Court analyzed a

claim arising from an earlier decision, Northern Illinois Home Builders Ass’n, Inc. v. County of

Du Page, 165 Ill. 2d 25 (1995), in which the court held a statute that enabled Du Page County to

levy transportation impact fees facially unconstitutional. Sundance Homes, 195 Ill. 2d at 259

(citing Northern Illinois, 165 Ill. 2d at 35-36). The plaintiff in Sundance Homes sought return of

impact fees paid pursuant to the unconstitutional enabling act but, crucially, had “waited more than

five years after they had paid the impact fees in question to file for a refund.” Id. at 259-61. After

the defendant refused the refund request, the plaintiff then filed a class-action lawsuit, requesting

that the defendant “be ordered to return all of the road impact fees paid” under the unconstitutional

enabling act. Id. at 261. The defendant moved to dismiss, arguing, in relevant part, that the

plaintiff’s claims were barred by the five-year civil catchall statute of limitations. Id. at 261 (citing

735 ILCS 5/13-205 (West 2016)). The circuit court denied the defendant’s motion and later entered

summary judgment for the plaintiff. Id. at 262.

¶ 24 Following litigation regarding attorney’s fees, the defendant appealed, and the appellate

court reversed, holding that the plaintiff’s claims were time-barred. Id. at 265. In its Sundance

Homes opinion, the Illinois Supreme Court affirmed. First, the court explained that the impact fee

refund claim, while not a tax refund claim specifically, was sufficiently similar to a tax refund

claim that the caselaw in that area could inform its decision. Id. at 266. It further explained,



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No. 1-23-1460


“Federal decisions appear to sanction strict application of statutes of limitations in the area of tax

litigation, even where the law has been altered by judicial decision.” Id. at 268. The court quoted

a passage in the United States Supreme Court case, Reynoldsville Casket Co. v. Hyde, 514 U.S.

749, 756 (1995). It read:

      “Suppose a State collects taxes under a taxing statute that this Court later holds

      unconstitutional. Taxpayers then sue for a refund of the unconstitutionally collected taxes.

      Retroactive application of the Court’s holding would seem to entitle the taxpayers to a

      refund of taxes. But what if a pre-existing, separate, independent rule of state law, having

      nothing to do with retroactivity—a rule containing certain procedural requirements for any

      refund suit—nonetheless barred the taxpayers’ refund suit? [Citations.] Depending upon

      whether or not this independent rule satisfied other provisions of the Constitution, it could

      independently bar the taxpayers’ refund claim.”

¶ 25 The Sundance Homes court continued that the United States Supreme Court “has repeatedly

affirmed the notion that a statute of limitation may bar a tax refund action, notwithstanding the

Court’s ruling that the state’s taxing statute is unconstitutional, and irrespective of the Court’s

retroactive application of that ruling.” Sundance Homes, 195 Ill. 2d at 269. The court concluded:

      “Undoubtedly, statutes of limitation are valid procedural restrictions which may be invoked

      to bar an otherwise meritorious claim for a refund, even when that claim is based upon a tax

      statute that has been held unconstitutional.” Id. at 270.

¶ 26 Resolution of the certified question hinges on whether the above holding in Sundance

Homes applies only when the claim for a refund is based on a statute that has been held

unconstitutional or whether it applies in another void judgment context—specifically, a void

agency determination. The City contends that the Sundance Homes exception applies to void



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No. 1-23-1460


agency determinations, while Plaintiffs respond that the general rule that a void judgment may be

attacked at any time has been reiterated by the supreme court in multiple contexts, and nothing in

Sundance Homes indicates the court’s intent to create an exception to the void judgment rule

outside of the specific context of an unconstitutional statute.

¶ 27 We hold the Sundance Homes exception to the void judgment rule for refund claims applies

to claims predicated on void agency decisions. The supreme court in Sundance Homes directly

considered a type of void judgment—a judgment predicated on a facially unconstitutional

statute—and held that refund claims arising from such judgments were subject to the statute of

limitations. The court did not expressly consider the tension this ruling had with the void judgment

rule in general, but that tension cannot be ignored, nor can the fact the court resolved that tension

in favor of applying the time-bar. Sundance Homes thus stands for the proposition that statutes of

limitations apply in the refund claim context, even if the refund is predicated on a void judgment.

With this holding in place, and binding on this court, the only justification we could use to restrict

the Sundance Homes exception from application to the type of void judgments in question here

would be to identify a substantive distinction between the void judgments at issue in Sundance

Homes and void agency determinations. As explained below, however, the theory underlying what

renders an action or judgment void maintains across all types of void judgments or determinations,

meaning there is no such substantive distinction.

¶ 28 An action or judgment is considered “void” under Illinois law when it is done without the

governmental body having authority to do so. A facially unconstitutional statute is void when the

legislature acts beyond its authority to pass laws granted by the constitution. People v. Price, 2016

IL 118613, ¶¶ 30-31. 1 An agency action is void when the agency acts beyond the authority granted


        1
        We note that the same is not true of a statute found unconstitutional in an as-applied challenge.
See People v. Thompson, 2015 IL 118151, ¶¶ 31-33.

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No. 1-23-1460


to that agency by the legislature or without attaining jurisdiction over an individual through proper

notice. See Daniels v. Industrial Comm’n, 201 Ill. 2d 160, 165 (2002); Stone Street Partners, LLC

v. City of Chicago Department of Administrative Hearings, 2017 IL 117720, ¶ 36. A court’s order

is void when entered beyond its authority because it lacks jurisdiction. Municipal Trust &amp; Savings

Bank v. Moriarty, 2021 IL 126290, ¶ 17. None of these actions is “more void” than another. See,

e.g., Keystone Montessori School v. Village of River Forest, 2021 IL App (1st) 191992, ¶ 89. (“It

is axiomatic that statutes that are unconstitutional on their face are void ab initio and that they and

court orders void ab initio may be challenged at any time in any court with jurisdiction.”). It

follows that there is no underlying substantive distinction between why the Sundance Homes

impact fee collection was void and why an agency action would be considered void. Thus, there

is no legal rationale constraining the void judgment rule exception created in Sundance Homes in

the context of that case.

¶ 29 We further note that application of Sundance Homes’s exception to the void judgment rule

to other contexts beyond void statutes is supported by the Sundance Homes court’s declaration that

a uniform application of statutes of limitations for “simple” refund cases reflects the intent of the

legislature. See Sundance Homes, 195 Ill. 2d at 284; see also Tims v. Black Horse Carriers, Inc.,

2023 IL 127801, ¶ 21; Raintree Homes, Inc. v. Village of Long Grove, 209 Ill. 2d 248, 260 (2004).

A system that differentiated between what, if any, statutes of limitations applied, based on whether

the refund claim is predicated on a void agency action or a void statute, would defeat this intent,

particularly where there is no substantive difference between the various types of void judgments. 2



        2
         We acknowledge the potential issues around a legal regime that permits the legislature to pass
laws that both (1) authorize a constitutionally questionable monetary collection and (2) limit the timeframe
a payor has to obtain a refund on a successful challenge of that collection. This tension is inherent in the
framework of the Sundance Homes exception and is likely worth further consideration than we may now
provide, given the limited scope of our review and authority.

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No. 1-23-1460


¶ 30 Plaintiffs argue that Sundance Homes does not apply beyond the void statute context

because the opinion does not expressly mention the word “void,” meaning the supreme court did

not intend its ruling to apply to other types of void judgments. But while we acknowledge that the

Sundance Homes court did not reckon with why, on a policy basis, refund claims should constitute

an exception to the void judgment rule, we do not have the discretion to choose not to apply the

Sundance Homes exception without a substantive rationale distinguishing between types of void

judgments, which we have not discovered, and Plaintiffs do not provide. See People v. Ellis, 2020

IL App (1st) 190774, ¶ 26 (only the Illinois Supreme Court may modify a declaration of law made

in one of its opinions). The Sundance Homes court may not have used the term “void,” but, as

explained above, the operative language for our purposes directly addressed the core tension

between time limits on one hand and the void judgment rule on the other and ruled in favor of

imposing time limits in the context of refund claims. “[S]tatutes of limitation are valid procedural

restrictions which may be invoked to bar an otherwise meritorious claim for a refund, even when

that claim is based upon a tax statute that has been held unconstitutional.” (Emphasis added.)

Sundance Homes, 195 Ill. 2d at 270.

¶ 31 Plaintiffs also argue that Sundance Homes should not apply because (1) the Illinois Supreme

Court has issued multiple post-Sundance Homes opinions standing for the general proposition that

void judgments can be challenged at any time and (2) these cases should be read to foreclose any

suggestion that Sundance Homes created an exception beyond its specific circumstances. See Stone

Street, 2017 IL 117720; Price, 2016 IL 118613; LVNV Funding, LLC v. Trice, 2015 IL 116129.

This argument fails because the cited cases each discuss the void judgment rule outside of the

refund context and do not discuss the Sundance Homes exception at all, let alone meaningfully

distinguish it or demonstrate the supreme court’s abandonment thereof. Accordingly, these cases



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cannot stand for the proposition that the supreme court intended to abandon Sundance Homes, and

this court cannot depart from it as a viable supreme court holding. See Ellis, 2020 IL App (1st)

190774, ¶ 26 (must be “firm support” that the supreme court has “implicitly overruled” a holding

before appellate court can deviate from that holding).

¶ 32 First, we consider Stone Street, 2017 IL 117720, which involved a void administrative

decision. There, plaintiff Stone Street brought an administrative review action against the City to

contest a judgment recorded against one of Stone Street’s properties in 1999. Id. ¶ 1. The record

did not indicate that the City ever served Stone Street with notice of the alleged violations, or the

judgment itself, before 2009. Id. ¶ 7. In 2009, the City recorded the judgment, and Stone Street

shortly thereafter filed a claim for administrative relief. Id. ¶ 11. The hearing officer “struck” Stone

Street’s claim because, in relevant part, the administrative department lacked jurisdiction due to

the claim’s untimeliness. Id. ¶ 12. Stone Street then filed an unsuccessful action in the circuit court.

Id. ¶¶ 12-16. On appeal, however, the appellate court held, and the supreme court then affirmed,

that Stone Street could pursue a claim for a declaratory judgment based on the theory that because

the judgment was void for the lack of notice, it could be challenged at any time. Id. ¶¶ 17-22, 36.

¶ 33 While Stone Street stands for the general proposition that void administrative law judgments

can be challenged at any time, that proposition is not at issue. Indeed, the parties agree the

declaratory judgment aspect of Plaintiffs’ challenge can proceed, regardless of the resolution of

this appeal. What Stone Street does not address, however, is whether refund claims predicated on

void administrative law collection judgment may be brought at any time. On that point, Stone

Street cannot be read to contradict or override the operative discussion in Sundance Homes.

¶ 34 Next, in Price, 2016 IL 118613, the supreme court relayed general black-letter law on the

void judgment rule, explaining that void judgments are unique because they may be challenged at



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any time, directly or collaterally, and such challenges are not subject to any procedural constraints

such as statutes of limitations or forfeiture. Id. ¶ 30 (citing People v. Castleberry, 2015 IL 116916,

¶ 15). The Price court continued that because of these unique features, “only the most fundamental

defects warrant declaring a judgment void.” Id. Like Stone Street, Plaintiffs’ citation to Price does

not avail them of any relief because the general propositions in Price are not in dispute. Moreover,

the substance of Price dealt with the “void sentence” rule, and the court did not address anything

specific to void administrative judgments or refund matters. Accordingly, the Price court’s

statement that void judgments can be challenged at any time is too general to impact the Sundance

Homes exception’s continued viability.

¶ 35 Finally, Plaintiffs cite LVNV, 2015 IL 116129, for (1) the proposition that when an agency

operates outside of its authority, it acts without jurisdiction, and its actions are void, and (2) the

supreme court’s distinction between a void agency determination and an erroneous order entered

by a circuit court with jurisdiction, which is not void. See id. ¶¶ 28-40; see also Daniels, 201 Ill.

2d at 165. This citation fails because the statute in Sundance Homes was not simply “in error,” like

an erroneous judgment from a circuit court that had jurisdiction; it was facially unconstitutional.

LVNV simply explains the difference between one specific type of judgment that is not void (a

court with jurisdiction entering an erroneous order) and a judgment that is void (an administrative

body entering a judgment that exceeds its legislatively granted authority), an explanation which is

irrelevant to our decision.

¶ 36                                       IV. CONCLUSION

¶ 37 In Sundance Homes, the supreme court created an exception to the rule that a void judgment

can be challenged at any time. Specifically, the court held that claims for a refund of money

collected by the government are subject to the five-year civil catchall statute of limitations, even



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if the claim is based on the fact that the collection was done pursuant to a facially unconstitutional,

and thus void, statute. The question posed to us today is whether a refund claim arising from a

void judgment in another context—a void agency decision, instead of a void statute—is also

subject to the statute of limitations. Our answer, for the reasons explained above, is yes.

¶ 38 Certified question answered.




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                Hampton v. City of Chicago, 2024 IL App (1st) 231460

Decision Under Review:     Appeal from the Circuit Court of Cook County, No. 19-CH-
                           1089; the Hon. David B. Atkins, Judge, presiding.


Attorneys                  Mary B. Richardson-Lowry, Corporation Counsel, of Chicago
for                        (Myriam Zreczny Kasper, Suzanne M. Loose, and Aya R.
Appellant:                 Barnea, Assistant Corporation Counsel, of counsel), for
                           appellant.


Attorneys                  Dom J. Rizzi, Daniel O. Herrera, and Mohammed A. Rathur, of
for                        Cafferty Clobes Meriwether &amp; Sprengel LLP, of Chicago, and
Appellee:                  Ellen Meriwether, of Cafferty Clobes Meriwether &amp; Sprengel
                           LLP, of Media, Pennsylvania, for appellees.




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